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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                                      Case No. 9:19-cv-81160-RS


   APPLE INC.,

                                 Plaintiff,

             v.

   CORELLIUM, LLC,

                               Defendant.


    DEFENDANT’S PROPOSED FINDINGS OF FACT AND CONCLUSIONS OF LAW
            Defendant Corellium, LLC hereby submits its proposed findings of fact and conclusions
  of law.

                                              OVERVIEW

        In this lawsuit, Apple alleged that the Defendant, Corellium, violated two subsections of
  the Digital Millennium Copyright Act by creating, providing to others, and selling a product—
  CORSEC—that is primarily sold or marketed as a means to circumvent the supposed
  technological measures that Apple allegedly uses to protect its copyrighted operating system,
  iOS. Corellium denied these claims and asserted several factual and affirmative defenses,
  including statutory exemptions and defenses that are within the Court’s equitable jurisdiction.
  Corellium also brought claims against Apple arising out of Apple’s alleged failure to pay rewards
  or “bounties” to Corellium in connection with the Apple Security Bounty Program. Apple
  asserted several legal defenses and one equitable defense, estoppel, to Corellium’s counterclaims.




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             The Parties’ primary claims, and their respective affirmative defenses, were tried before
      this court on [INSERT DATES], and the jury has found [INSERT POST-TRIAL]. 1 In addition,
      the jury has offered advisory verdicts on Corellium’s affirmative defense of estoppel, as well
      as Apple’saffirmative defense of estoppel. Those advisory verdicts find: [INSERT POST-
      TRIAL]. The following issues remain for the Court’s consideration and adjudication: [INSERT
      POST-TRIAL].

             The Court presided over the presentation of evidence at trial from [DATES]. The Parties
      have presented briefing on the issues. [DESCRIBE POST-TRIAL BRIEFING AND CITE
      PERTINENT ECF NUMBERS]. The Court, having considered the briefing, evidence, and
      argument related to Apple’s claims under the Digital Millennium Copyright Act (“DMCA”) and
      Corellium’s counterclaims, Corellium’s defenses to those claims and its pleaded affirmative
      defenses of estoppel, acquiescence, laches, copyright misuse, and unclean hands, and Apple’s
      pleaded affirmative defense of estoppel, makes the following findings of fact and conclusions of
      law.

                                           FINDINGS OF FACT

 I.           THE PARTIES

              A.     Plaintiff
             1.        Plaintiff Apple Inc. is a California corporation with its principal place of
      business at One Apple Park Way, Cupertino, California 95014. Apple designs, develops, and sells
      mobile devices called iPhone, iPad, and iPod Touch (“Apple Devices”).
             2.        iOS is Apple’s operating system for Apple Devices (and in the latest versions
      exclusively only to iPhone).    iOS contains a combination of open-source software that is
      dedicated to the public and software developed by Apple.
             3.        Apple makes available to the public for download, for free and without license
      conditions, a repository of code constituting iOS. That repository of iOS code is known as IPSW.


      1
        Some of the proposed findings of fact and conclusions of law may require modification as a
      result of the jury’s verdict. Corellium reserves the right to propose updated findings of fact and
      conclusions of law consistent with the jury’s verdict and any rulings of law by the Court.




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           B.      Defendant
           4.        Defendant Corellium, LLC is a limited liability company registered in Delaware
      with its principal place of business at 1301 N. Congress Ave, Ste. 410, Boynton Beach, FL
      33426,. Corellium licenses a security research platform that enables users to create a variety of
      virtual device models, including models capable of running versions of iOS and Android, with
      custom integrated research tools.
           5.        The CORSEC product was developed, produced, distributed, and used for
      security research and testing. [TT ; Ex. No(s). .]
           6.        Corellium’s customers include Fortune 500 companies and the United States
      government. [TT ; Ex.No(s). .]

                             FINDINGS OF FACT WITH RESPECT TO
                 CORELLIUM’S AFFIRMATIVE DEFENSES TO APPLE’S CLAIMS

           7.        In August 2017, Chris Wade, Amanda Gorton, David Wang, and Stan
      Skowronek founded Corellium, a company that developed a security research platform that
      enables the creation of virtual devices capable of running certain versions of iOS, and that
      licenses such software through its CORSEC product. [TT                   ; Ex. No(s). .]2
           8.        Corellium’s CORSEC product provides its users with virtual devices that are
      able to run certain versions of iOS in a web browser and that are integrated with the CORSEC
      suite of security research tools. The product adds features not available on retail iPhones that
      are useful for security research and testing, and removes features that are specific to mobile
      devices such as text messages, phone calls, video calls, cameras, the Apple app store, Bluetooth,
      and navigation. [TT ; Ex. No(s). .]
           9.        iOS, as it is made publicly available in IPSW files, does not include hardware
      or “firmware” (software permanently installed in hardware) and does not have to run on Apple
      Devices.
           10.       Apple makes iOS software available online for public download, for free,
      unencrypted, and without any licensing terms or restrictions, through IPSW container files
      hosted on Apple’s servers and linked to by third-party websites, including http://ipsw.me. As

  2
    Corellium reserves the right to, and intends to, file updated proposed findings of fact and
  conclusions of law with trial transcript cites (“TT”) as well as trial exhibit numbers (“Ex. No(s).”)
  once the trial has concluded.

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       such, Corellium had no reason to believe that Apple intended to restrict the use of these IPSW
       files in any way. [TT ; Ex. No(s). .]
            11.       A user is not presented with or required to agree to Apple’s iOS End User
       License Agreement (the “EULA”) or any other agreement before downloading an IPSW file
       from Apple’s servers. As such, Corellium had no reason to believe that Apple intended to
       contractually restrict the use of these IPSW files. [TT ; Ex. No(s). .]
            12.       Most of iOS in the IPSW files is not encrypted or scrambled in any way. As
       such, Corellium had no reason to believe that Apple intended to cryptographically restrict the
       use of the unencrypted portions IPSW files.
            13.       Corellium’s CORSEC product does not virtualize or otherwise use any
       encrypted code from any IPSW files. [TT ; Ex. No(s). .]
            14.       All of the technological protection measures that Apple claims protect its
  copyright in iOS only exist on physical Apple Devices sold by Apple. As such, Corellium had no
  reason to believe that Apple intended to restrict the use of IPSWs with technological protective
  measures. [TT ; Ex. No(s). .]
            15.       In the ordinary course of operation of the non-encrypted iOS code contained in
  the IPSW files, iOS does not check what “authorization” signature it receives or whether it
  receives a signature at all. It keeps on running. Only the physical iPhone or iPad hardware
  responds if a signature is obtained from Apple’s “authorization server.” [TT ; Ex. No(s). .]
            16.       In the ordinary course of operation of the non-encrypted iOS code contained in
  the IPSW files, iOS will run on devices regardless of whether the device implements the “secure
  boot chain” that Apple hardware may apply on Apple Devices. The IPSW files continue running
  whether a secure boot chain is confirmed or not. Only certain iPhone or iPad hardware stops iOS
  from running in the event of a secure boot chain error.
            17.       In the ordinary course of operation of the non-encrypted iOS code contained in
  the IPSW files, iOS will continue to run regardless of whether the “Buddy” program runs. Only
  certain iPhone or iPad hardware is affected by whether the Buddy program runs. [TT ; Ex. No(s).
  .]
            18.       In the ordinary course of operation of the non-encrypted iOS code contained in
  the IPSW files, iOS does not check whether code modifications or apps are authorized by Apple
  via the “trust cache.” iOS will run if the code modifications or apps are authorized by whatever



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  system iOS is then running on. Only certain iPhone or iPad hardware check whether Apple has
  approved modifications or apps. [TT ; Ex. No(s). .]
         19.        In the ordinary course of operation of the non-encrypted iOS code contained in
  the IPSW files, iOS will accept any PAC code or no PAC code at all. Only specific iPhone and
  iPad hardware models run PAC, and iOS only uses the PAC exploit mitigation on these particular
  models – on other iPhone models the same version of iOS will not use the PAC exploit mitigation.
  [TT ; Ex. No(s). .]
         20.        Prior to founding Corellium, in 2014, Chris Wade, Amanda Gorton, and Stan
  Skowronek founded a venture called Virtual, which developed iOS virtualization technology.
  [TT ; Ex. No(s). .]
         21.        Apple was aware that Virtual had developed virtualization technology that
  included the ability to virtualize iOS. Apple was also aware in 2011 that prior to Virtual, Chris
  Wade had developed an emulator for iOS, called iEmu. [TT ; Ex. No(s). .]
         22.        In 2014, Apple was aware that Virtual had access to the iOS code contained in
  Apple’s freely available IPSW files and was using this code to run iOS in its virtualization
  product. [TT ; Ex. No(s). .]
         23.        In 2014, Apple engaged in negotiations with Wade, Gorton, and Skowronek for
  a possible acquisition of Virtual. Apple and its employees never raised any issues relating to
  either (1) copyright law, or (2) the DMCA, with respect to Virtual. Apple never issued a cease-
  and-desist letter with respect to Virtual and it never requested that Virtual stop selling or offering
  to sell its iOS virtualization technology. [TT ; Ex. No(s). .]
         24.        In August 2014, Citrix Systems, Inc. acquired Virtual. Thereafter, Mark
  Templeton, the CEO of Citrix at that time, and Wade, as Templeton’s technical advisor, discussed
  potential partnerships with Apple for use of the Virtual technology. [TT          ; Ex. No(s).      .]
  During these discussions, Apple and its employees never raised any issues relating to either (1)
  copyright law, or (2) the DMCA. [TT ; Ex. No(s). .]
         25.        Citrix and Apple did not enter into an agreement. [TT ; Ex. No(s). .]
         26.        In 2017, Apple became aware that Corellium had developed new iOS
  virtualization technology. [TT    ; Ex. No(s).   .] On December 12, 2017, Wade contacted Krstić,
  head of Security Engineering and Architecture at Apple, regarding the launch of Corellium and
  Krstić asked Wade to come provide a demonstration at Apple. [TT ; Ex. No(s). .]



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         27.       During multiple meetings with Apple employees, Wade and other Corellium
  employees demonstrated CORSEC to Apple at least three times and showed them how it worked
  in detail, including much of its code. [TT ; Ex. No(s). .]
         28.       Apple encouraged Wade to continue CORSEC’s development. [TT ; Ex. No(s).
  .] Between approximately January and July 2018, Apple and Corellium engaged in negotiations
  regarding the possible acquisition of Corellium by Apple. [TT ; Ex. No(s). .]
         29.       Apple employees expressed enthusiasm about Corellium’s technology, and its
  potential acquisition by Apple, during negotiations. During these negotiations with Corellium,
  Apple employees never raised any issues relating to either (1) copyright law, or (2) the DMCA,
  with respect to Corellium’s virtualization technology.
         30.     Apple never issued a cease-and-desist letter with respect to Corellium and it never
  requested that Corellium stop selling, offering to sell, using, or otherwise making available, its iOS
  virtualization technology. [TT ; Ex. No(s). .]
         31.     Internally, Apple discussed several potential uses for the Corellium technology
  involving testing and security research. [TT ; Ex. No(s). .]
         32.     Apple conducted technical due diligence with respect to Corellium and its
  virtualization technology to determine whether it would make an offer to purchase the company.
  [TT ; Ex. No(s). .]
         33.       Apple offered to purchase Corellium, including its technology and people, who
  would be onboarded to Apple as employees in the event of an acquisition of the company.
  However, Corellium was unwilling to accept the terms of Apple’s offer. [TT ; Ex. No(s). .]
         34.       Ultimately, the two companies did not come to an agreement on the terms and
  Apple did not acquire Corellium. [TT; Ex. No(s). .]
         35.     Even after the failed acquisition of Corellium, Apple never raised any issues to
  Corellium relating to copyright law or the DMCA. Apple did not send a cease-and-desist letter or
  make any other communication indicating to Corellium that it should stop selling, offering to sell,
  using, or otherwise making available, the CORSEC product, or that it was allegedly violating the
  DMCA. [TT ; Ex. No(s). .]
         36.     Corellium’s security research platform, including its suite of security research tools,
  allows security researchers to find vulnerabilities.




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         37.     Apple has a bug bounty program where security researchers can submit those
  vulnerabilities, whereby Apple obtains a benefit. Mr. Wade, on behalf of himself personally and
  Corellium, has submitted several vulnerabilities to Apple, including after the failed acquisition of
  Corellium by Apple. Corellium’s customers have also submitted vulnerabilities to Apple. [TT ;
  Ex.No(s). .]
         38.     Apple did not pay Mr. Wade the proper value for the submission of certain of these
  vulnerabilities to Apple, despite deriving benefit therefrom. [TT ; Ex. No(s). .]
         39.     The CORSEC product models certain device features relevant to security research
  with as much fidelity as possible, including processor architecture, the ability to execute with
  certain hardware drivers, and security mitigations. CORSEC runs Linux, an open-source operating
  system, as an administrative interface for virtual machines on the Corellium hypervisor. As such,
  modifications to IPSW are made for the purposes of enabling advanced research capabilities and
  interoperability with Linux and the Corellium hypervisor. [TT ; Ex. No(s). .]
         40.     The patches applied to iOS by CORSEC also enable interoperability with the third-
  party applications that run on iOS, as well as with third-party research tools. For example, patches
  that fix time-dependencies in iOS are specifically required to enable debugging. In this way,
  Corellium allows iOS to become part of a broad software ecosystem making it possible to integrate
  iOS with specialized software tools, automate testing, and gain insight with analysis tools. [TT ;
  Ex.No(s). .]

                    FINDINGS OF FACT WITH RESPECT TO
      APPLE’S AFFIRMATIVE DEFENSES TO CORELLIUM’S COUNTERCLAIMS
         41.     Apple announced its Security Bounty Program in August 2016 to incentivize and
  compensate security researchers to inform Apple about security bugs in iOS that they have found
  so that Apple can fix them. Under the program, Apple offers cash rewards to external researchers
  who submit certain qualifying bugs for Apple’s benefit. [TT ; Ex. No(s). .] In 2016, when Apple
  first announced the Apple Security Bounty Program, it offered a reward of up to $200,000 for
  submitting a critical vulnerability. [TT ; Ex. No(s). .]

         42.     In 2019, Apple increased that maximum to $1,000,000. [TT ; Ex. No(s). .]

         43.     Under the original 2016 Apple Security Bounty Program, Apple would pay up to:
  1) $200,000 for bugs in secure boot firmware components; 2) $100,000 for extraction of
  confidential material protected by the Secure Enclave Processor; 3) $50,000 for the execution of


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  arbitrary code with kernel privileges; 4) $50,000 for unauthorized access to iCloud account data
  on Apple servers; and 5) $25,000 for access from a sandbox process to user data outside of that
  sandbox. [TT ; Ex. No(s). .]

         44.     From April 2017 through September 2019, Chris Wade submitted multiple bugs
  through the Apple Security Bounty Program. Apple determined that some of these submissions
  were eligible for reward. However, Apple did not reward Mr. Wade for other submissions even
  though Apple used the information in those submissions to fix the submitted bugs. [TT ; Ex. No(s).
  .]

         45.     Mr. Wade submitted eight bugs in April 2017, but Apple allegedly only concluded
  that half of them were eligible for a reward. [TT ; Ex. No(s). .]

         46.     Chris Wade submitted the “persona race condition” bug to Apple on November 13,
  2017 from cmw@cmw.me. [TT ; Ex. No(s). .]

         47.     Chris Wade submitted the “posix_spawn issue” bug to Apple on November 13,
  2017 from cmw@cmw.me. [TT ; Ex. No(s). .]

         48.     Chris Wade submitted the “nfssvc issue” bug to Apple on November 13, 2017 from
  cmw@cmw.me. [TT ; Ex. No(s). .]

         49.     Chris Wade submitted the “kernel execution bug” on behalf of Corellium to Apple
  on September 30, 2019 from chris@corellium.com. [TT ; Ex. No(s). .]

         50.     Apple notified Chris Wade as an agent of Corellium on February 10, 2020 that the
  “kernel execution bug” qualified for an award of $45,000. Chris Wade on behalf of Corellium
  designated the award for donation to the Electronic Frontier Foundation, and Apple matched the
  donation for a total of $90,000. [TT ; Ex. No(s). .]

         51.     Chris Wade submitted the “memory leak bug” on behalf of Corellium to Apple on
  September 30, 2019 from chris@corellium.com. [TT ; Ex. No(s). .]

         52.     Apple notified Chris Wade as an agent of Corellium in April 2020 that the “memory
  leak bug” qualified for an award of $20,000. Chris Wade on behalf of Corellium designated the
  award for donation to the Electronic Frontier Foundation, and Apple matched the donation for a
  total of $40,000. [TT ; Ex. No(s). .]



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         53.     Chris Wade on behalf of Corellium submitted a write up of “checkm8”
  vulnerability on September 30, 2019. [TT ; Ex. No(s). .]

         54.     Apple derived benefit from the bugs that Mr. Wade submitted, including the bugs
  that they refused to award any money for. [TT ; Ex. No(s). .]

       CONCLUSIONS OF LAW WITH RESPECT TO CORELLIUM’S DEFENSES TO
                                      APPLE’S DMCA CLAIM
  I.     CORELLIUM HAS ESTABLISHED EQUITABLE ESTOPPEL

         1.        Courts have assumed, without deciding, that equitable estoppel applies to claims
  brought under the Digital Millennium Copyright Act (“DMCA”). See Disney Enters., Inc. v.
  Hotfile Corp., No. 11-cv-20427, 2013 WL 6336286, at *24 (S.D. Fla. Sept. 20, 2013).
         2.        To establish an equitable estoppel defense, a defendant must establish both that
  the plaintiff “engage[d] in intentionally misleading representations concerning his abstention
  from suit” and that the alleged violator “detrimentally relie[d]” on the plaintiff’s representations.
  See Petrella v. Metro-Goldwyn-Mayer, Inc., 572 U.S. 663, 684 (2014). Even mere delay in
  bringing a lawsuit, when combined with other types of overt acts, can be sufficient to support an
  equitable estoppel defense. See LEGO A/S v. Best-Lock Constr. Toys, Inc., 404 F. Supp. 3d 583,
  619 (D. Conn. 2019) (“It is well-established in this Circuit that an infringement plaintiff's
  inaction, if accompanied by overt acts of particular characteristics, may combine to support the
  defense of equitable estoppel.”)   Corellium has met its burden on this defense as follows.
        3.         First, the record establishes unambiguously that Apple knew detailed facts of
  Corellium’s development, sales, and distribution of its product, as well as access to the iOS code.
  The Parties engaged in discussions about Apple’s potential acquisition of Corellium. In the
  course of those discussions and negotiations, Apple was given demonstrations of Corellium’s
  technology and its applications as well as information about how the code functions.
        4.         Second, the evidence shows that Apple’s repeated statements and actions toward
  Corellium led Corellium to reasonably believe that Apple would not pursue a claim against it.
  The parties had engaged in numerous discussions, demonstrations and other interactions focused
  on the merits and value of Corellium’s technology to Apple. Apple never indicated or suggested
  during these interactions that it would potentially sue Corellium or that Corellium could not
  sustain its business model without Apple’s consent.           Instead, Apple conveyed the clear



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   impression that, if anything, it wished to collaborate with or acquire Corellium.
         5.          Third, the evidence demonstrates that, based on the nature of their repeated
   interactions, Corellium reasonably believed that Corellium was at no risk of a lawsuit from Apple.
   The parties engaged in willing and open negotiations and due diligence over Apple’s possible
   acquisition of Corellium and Apple made express statements lauding Mr. Wade’s skill as an
   engineer and CORSEC technology. Apple further communicated to Corellium its approval of
   the strengths and value of Corellium’s technology.
         6.          Fourth, the evidence demonstrates that Corellium has been and will continue to
   be harmed as a result of its reliance on Apple’s conduct, if Corellium were liable for damages
   here despite being encouraged to continue costly development of its product.
         7.          Where Corellium has met its burden of proof on this defense, I find that Apple
   is estopped from asserting claims under the DMCA against Corellium.

  II.     CORELLIUM ESTABLISHED ACQUIESCENCE
         8.          To prevail on the defense of acquiescence, a defendant must establish three
   elements: “(1) [Plaintiff] actively represented that [he] would not assert a right or a claim; (2) the
   delay between the active representation and assertion of the right or claim was not excusable; and
   (3) the delay caused the defendant undue prejudice.” Malibu Media, LLC v. Zumbo, 2014 WL
   2742830, at *3 (M.D. Fla. June 17, 2014)(citing to SunAmerica Corp. v. Sun Life Assur. Co. of
   Can., 77 F.3d 1325, 1334 (11th Cir. 1996). Moreover, “active representation” does not
   necessarily mean an explicit promise not to sue. It only requires conduct on Apple’s part that
   amounted to an assurance to Corellium, express or implied, that Apple would not assert its rights
   against Corellium. Virtual Studios, Inc. v. Stanton Carpet Corp., No. 4:15-CV-0070-HLM, 2016
   WL 5339360, at *12 (N.D. Ga. Aug. 1, 2016).
         9.          Here, Corellium can establish each of the three necessary elements of
   acquiescence. First, the record shows that Apple actively represented, through its conduct, that
   Apple would not assert its rights against Corellium. After Corellium’s presentations of CORSEC
   to Apple’s employees, Apple’s employees expressed positive and encouraging feedback about
   CORSEC. More importantly, Jon Andrews, Apple’s VP Core OS Software Engineering, emailed
   Chris Wade “I’ve been thinking about Corellium for some time and now have a good idea of how
   your team could have a big impact.” Additionally, Apple’s employees encourage Corellium to
   virtualize newer versions of iOS, e.g., iOS 11 and 12. Corellium demonstrated to Apple’s


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   employees the full SEP emulation using CORSEC. Apple did not express to Corellium that it was
   violating the DMCA; instead, Apple continued to actively represent to Corellium, through its
   conduct, that it would not assert any rights against Corellium.
         10.        Second, the record shows that Apple’s delay between active representation and
   assertion of the right was not excusable. Corellium was founded on August 15, 2017. In August
   2017, Corellium presented CORSEC at the Tensec 2017 Security Conference, which was
   attended by Apple. In December 2017, Ivan Krstic responded to a message from Chris Wade
   about Corellium with the request to “come demo” at Apple. On January 23, 2018, March 1, 2018,
   and June 7, 2018, Corellium demonstrated CORSEC during meetings with Apple employees. On
   June 2018, Jon Andrews received a CORSEC trial account. Apple continued to have negotiations
   and communications with Corellium until around July 2018. Only a year later, on August 15,
   2019, Apple filed the instant lawsuit. Apple’s delay is inexcusable, since Apple received a
   CORSEC demonstration on January 23, 2018 and actively encouraged Corellium to develop
   CORSEC—including the virtualization of newer versions of iOS—and then suddenly, without
   any notice to Corellium, Apple filed the instant lawsuit in August 2019.
         11.        Third, the record shows that Apple’s delay to file the instant lawsuit has caused
   Corellium undue prejudice. Apple actively represented, through its conduct, that CORSEC was
   a beneficial product with several potential uses, including security testing and research. Corellium
   was unduly prejudiced because Corellium continued its operations, development, and
   commercialization of CORSEC since Apple’s conduct assured Corellium that Apple would not
   assert any rights against Corellium.
         12.        Because Corellium has established all three elements of acquiescence, Apple’s
   acquiescence to CORSEC exempts Corellium from liability.

  III.    CORELLIUM HAS ESTABLISHED LACHES

         13.        Apple incorrectly asserts that laches is not an available defense to claims under
   the DMCA. Laches is an equitable remedy that is generally available as an equitable defense.
   Apple has not cited any authority rejecting laches as an available defense to DMCA claims. The
   Supreme Court’s decision in Petrella v. Metro-Goldwyn- Mayer, Inc., dealt only with claims for
   copyright infringement; it did not address the availability of laches as a defense to claims brought
   pursuant to the DMCA. Petrella does not, therefore, preclude the availability of laches for such



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   claims, and this District has implicitly allowed defendants to assert laches as a defense to DMCA
   claims. See Pearson Educ., Inc v. Hotfile Corp., No. 14-CIV-20200, 2015 WL 11216708, at *3
   (S.D. Fla. Jan. 27, 2015) (rejecting “counterclaim for declaratory judgment under the doctrine of
   laches” as “redundant and unnecessary” where defendant had raised laches as affirmative defense
   to DMCA claim). I therefore find that Corellium may assert laches as a defense to Apple’s claims
   for damages pursuant to the DMCA.
         14.        To prevail on its defense of laches, Corellium has the burden to prove by a
   preponderance of the evidence “(1) a delay in asserting a right or a claim; (2) that the delay was
   not excusable; and (3) that there was undue prejudice to the party against whom the claim is
   asserted.” Venus Lines Agency, Inc. v. CVG Int’l Am., Inc., 234 F.3d 1225, 1230 (11th Cir. 2000)
   (internal citations and quotations omitted). Corellium has met its burden on these elements.
         15.        First, the record establishes that Apple first learned that Chris Wade was
   developing virtualization systems to allow security research for platforms such as iOS in 2011
   or, at the latest, in 2014. Apple continued to communicate with Mr. Wade over the subsequent
   years, while fully aware of his ongoing work into hardware virtualization and iOS security
   research and his access to the iOS code. Apple, in fact, discussed with Mr. Wade the possibility
   of acquiring his iOS virtualization technology on multiple occasions in 2014 and during the years
   following Apple’s first awareness of this technology. After waiting for many years and actively
   encouraging Mr. Wade to continue development, Apple filed its initial complaint in this matter
   on August 15, 2019. Thus, Corellium has establish that Apple sat silently for many years and
   delayed asserting any of its alleged rights.
         16.        Second, the record establishes that the conduct of which Apple complains was
   largely ongoing from 2011 or, at the latest, from 2014, and despite Apple’s established knowledge
   of such conduct, Apple has not presented evidence excusing its delay in asserting its rights.
         17.        Third, the record establishes that Apple’s delay in asserting its rights unduly
   prejudiced Corellium.     Corellium invested substantial time, effort, and resources into the
   development of its product. Corellium also undertook these efforts with knowledge of Apple’s
   intent stemming in substantial part from Chris Wade’s historical interactions with Apple over the
   virtualization technology at issue here. Corellium has therefore been unduly prejudiced by
   Apple’s delay.
         18.        Accordingly, I find that Corellium has proven its laches defense and that Apple



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   is precluded from asserting its claims for damages under the DMCA.

   IV.    CORELLIUM HAS ESTABLISHED COPYRIGHT MISUSE

         19.        Corellium may assert its defense of copyright misuse as defense to Apple’s
   claim pursuant to 17 U.S.C § 1201(b). While the Eleventh Circuit is silent on the availability of
   the defense, the weight of circuit authority recognizes the defense. See, e.g., Assessment Techs.
   Of WI, LLC v. Wiredata, 360 F.3d 640, 647 (7th Cir. 2003); Video Pipeline v. Buena Vista Home
   Ent’mt, 342 F.3d 191, 206 (3d Cir. 2003); A & M Records, Inc. v. Napster, Inc., 239 F.3d 1004,
   1026-27 (9th Cir.2001); DSC Communications Corp. v. DGI Technologies, Inc., 81 F.3d 597,
   601-02 (5th Cir.1996); Lasercomb America, Inc. v. Reynolds, 911 F.2d 970, 976-79 (4th
   Cir.1990). A recent decision from a sister district allowed the defense. See, e.g., Pk Studios, Inc.
   v. R.L.R. Investments, LLC, 2016 WL 4529323, at *5 (M.D. Fla. Aug. 30, 2016) (“The
   undersigned previously refused to dismiss a copyright misuse defense where the basis asserted
   for dismissal was the defense's potential non-viability and will also decline to do so here.”).
         20.        Application of the copyright misuse defense is directly relevant to the claims
   Apple asserts under the DMCA. Section 1201(a)(2) pertains to a technology that “effectively
   controls access to a work protected under this title.” Where a copyrighted work has been misused,
   the work is not “protected under this title” while the misuse occurs and persists. “A successful
   defense of misuse of copyright bars a culpable plaintiff from prevailing on an action for
   infringement of the misused copyright.” Lasercomb America, Inc. v. Reynolds, 911 F.2d 970,
   972 (4th Cir. 1990) (accepting copyright misuse defense. and finding anticompetitive clauses in
   a licensing agreement constituted misuse).
         21.        Similarly, Section 1201(b) pertains to “a right of a copyright owner under this
   title in a work or a portion thereof.” Misuse of a copyrighted work nullifies the rights of the
   copyright owner during the period of the misuse. Therefore, the defense of copyright misuse
   affects the application of Sections 1201(a)(2) and (b) as pertinent to this case.
         22.        Moreover, application of the misuse defense is consistent with the policies with
   respect to the protection of copyrighted works and lawfully asserted copyright rights underlying
   the DMCA. A June 2017 Report of the Register of Copyrights concerning Section 1201 of Title
   17 observes in this regard that “principles underlying existing doctrines of antitrust law or misuse,
   and the permanent exemptions, such as section 1201(f)’s exception for interoperability, may



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   accommodate many anti‐competitive concerns” arising from Section 1201 of Title 17: A Report
   of    the     Register     of     Copyrights      at    49     (June     2017)      (available     at
   https://www.copyright.gov/policy/1201/section-1201-full-report.pdf). I therefore find that the
   defense is available here as to Apple’s DMCA claims under to 17 U.S.C § 1201(a)(2) and (b).
         23.        The defense aims “to prevent a litigant from securing an exclusive right which
   exceeds what has already been granted via the copyright” and “bar[s] recovery for a copyright
   owner who attempts to extend its limited copyright rights to property not covered by the
   copyright.” Id. (internal quotation marks and citation omitted). Corellium has met its burden as
   to Apple’s Section1201(b) claim here.
         24.        The record establishes that Apple is seeking to assert protections in copyrighted
   materials over its technologies, the function of its software, and its hardware products that are not
   subject to copyright protection. Apple sells iPhone hardware, not iOS software. Apple gives the
   iOS software away for free. Apple is seeking to use the rights granted to it for its copyrights to
   support the sale of its hardware, to which copyright protections do not extend. Apple is thus
   seeking to assert protection over rights not within the exclusive rights of a copyright owner under
   17 U.S.C. § 106. Accordingly, this improper attempt to expand its limited copyrights or to
   leverage copyright rights for purposes not protectable by copyright law is at odds with public
   policy embodied in the grant of a copyright.
         25.        Accordingly, I find that Corellium has met its burden of proof on its defense of
   copyright misuse, and that Apple’s claims under 17 U.S.C. § 1201(a)(2) and (b) must fail.

   V.     CORELLIUM HAS ESTABLISHED UNCLEAN HANDS
         26.        As a threshold matter, I find that it is permissible for Corellium to assert the
   defense of unclean hands as a defense to claims arising under the Copyright Act. Supermarket of
   Homes, Inc. v. San Fernando Valley Bd. of Realtors, 786 F.2d 1400 (9th Cir. 1986).
         27.        “Under the doctrine of unclean hands, ‘[o]ne who has acted in bad faith, resorted
   to trickery and deception, or been guilty of fraud, injustice[,] or unfairness will appeal in vain to
   a court of conscience, even though in his wrongdoing he may have kept himself strictly within
   the law.’” Ocean’s 11 Bar & Grill, Inc. v. Indem. Ins. Corp. RRG, No. 11-61577-CIV, 2012 WL
   5398625, at *17 (S.D. Fla. Nov. 2, 2012), aff'd sub nom. Ocean's 11 Bar & Grill, Inc. v. Indem.
   Ins. Corp. of DC, Risk Retention Grp., 522 F. App'x 696 (11th Cir. 2013).
         28.        First, the record establishes unambiguously that Apple knew that facts of


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   Corellium’s development, sales, and distribution of its product, as well as Chris Wade’s access
   to the iOS code as far back as 2014, where the Parties engaged in discussions about Apple’s
   potential acquisition of the virtualization technology, including that by Corellium. Apple was
   given demonstrations of Corellium’s technology and its applications, and even received bug
   submissions identified by use of Corellium’s technology.
           29.      Second, Apple employees expressed enthusiasm and encouragement about
   Corellium’s technology, and its potential acquisition by Apple, during negotiations. During these
   negotiations with Corellium, Apple employees never raised any issues relating to either (1)
   copyright law, or (2) the DMCA, with respect to Corellium’s virtualization technology.
           30.      Third, despite the knowledge and encouragement, Apple never issued a cease-
   and-desist letter with respect to Corellium and it never requested that Corellium stop selling,
   offering to sell, using, or otherwise making available, its iOS virtualization technology without
   permission from Apple.
           31.      Apple’s lack of action, and more so, enthusiasm and encouragement expressed
   to Chris Wade and Corellium about the development of the CORSEC product, only to file a
   lawsuit years later after acquisition talks failed, resulted in injury, injustice and unfairness to
   Corellium.
           32.      Accordingly, I find that Corellium has met its burden of proof on its defense of
   unclean hands, and that Apple’s claims under 17 U.S.C. § 1201(a)(2) and (b) must, therefore, fail.


                          CONCLUSIONS OF LAW WITH RESPECT TO
            APPLE’S ESTOPPEL DEFENSE TO CORELLIUM’S COUNTERCLAIMS
      I.         CORELLIUM IS NOT ESTOPPED FROM SUING APPLE REGARDING THE
                 APPLE SECURITY BOUNTY PROGRAM

           33.      A claim under the Copyright Act can be waived if a defendant successfully
   establishes: “(1) the plaintiff [knows] the facts of the defendant's infringing conduct; (2) the
   plaintiff [intends] that its conduct shall be acted on or must so act that the defendant has a right
   to believe that it is so intended; (3) the defendant [is] ignorant of the true facts; and (4) the
   defendant [relies] on the plaintiff's conduct to its injury.” Disney Enterprises, Inc. v. Hotfile
   Corp., No. 11-20427-CIV, 2013 WL 6336286, at *24 (S.D. Fla. Sept. 20, 2013). Here, Apple
   cannot establish its estoppel defense.


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         34.        First, Corellium was not aware of Apple’s intent or ability to withhold proper
   value or payment altogether for the submission of bugs because Chris Wade was directly
   instructed by Apple employees to submit bugs and that Apple would compensate for each bug
   submitted.
         35.        Second, the record evidence clearly reflects that Corellium’s submission of bugs
   to Apple was done with the expectation of compensation in return and that there was no indication
   that Corellium intended to provide the bugs with no compensation in return.
         36.        Third, the evidence of the case shows that Apple was not ignorant of the true
   facts. Indeed, while the Apple Security Bounty Program policy might reflect that Apple has
   discretion of bug payouts, notwithstanding that policy, Apple, aware of its policy, still promised
   to Chris Wade that the submission of any bugs would be compensated.
         37.        Fourth, Chris Wade and Corellium relied upon the promise of compensation
   made by Apple employees, and based upon that promise, submitted the bugs at issue to Apple.
         38.        In addition, Apple cannot show that it was injured in any capacity given that it
   received information about bugs in its software and received such information without having to
   pay for it. The evidence shows that Apple clearly benefitted from these transactions.

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